                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

                                      No. 7:20-CR-00171-M-1


 UNITED STATES OF AMERICA                       )
                                                )
         Plaintiff, .                           )
                                                )                  ORDER
 V.                                             )
                                                )
 CHRISTOPHER MAURICE LAMAR                      )
 HODGES,                                        )
                                                )
         Defendant.                             )


       This matter comes before the court on Defendant's Motion to Seal Docket Entry 43 [DE 44].

Pursuant to Local Criminal Rule 55.2 and based on information set forth in the proposed sealed

document, the motion is GRANTED. The Clerk of the Court shall maintain under seal the documents

at DE 44 until further order of the court.


       SO ORDERED this 27~ay of September, 2021.




                                             r::?LJ D1l~-·
                                             RICHARD E. MYERS II
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                                             CHIEF UNITED STATES DISTRICT JUDGE




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